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                  DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. CROIX
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
            v.                             )   Criminal No. 2016-0009-13
                                           )
JEAN CARLOS VEGA-ARIZMENDI, et al.,        )
                                           )
                  Defendants.              )
__________________________________________)

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        For the United States

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        For Defendant Jean Carlos Vega-Arizmendi

                               MEMORANDUM OPINION

Lewis, Chief Judge

        THIS MATTER comes before the Court on the “Motion to Suppress Statements and

Request [for] Evidentiary Hearing” filed by Defendant Jean Carlos Vega-Arizmendi (“Defendant”

or “Defendant Vega-Arizmendi”) (Dkt. No. 220); the Government’s “Response to Vega-

Arizmendi’s Motion to Suppress Statements” (Dkt. No. 313); and “Defendant’s Reply Re: Motion

to Suppress” (Dkt. No. 336). For the following reasons, the Court will deny the Motion in its

entirety.
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                      I.      BACKGROUND AND EVIDENCE1

        On August 24, 2016, a First Redacted Superseding Indictment (the “Indictment”) was filed

against Defendant and fourteen co-defendants. The Indictment charges Defendant with one count

of conspiracy to possess a controlled substance with the intent to distribute in violation of 21

U.S.C. § 841(a)(1), § 841(b)(1), and § 846 (Count 1) and two counts of attempted possession with

the intent to distribute cocaine in violation of 21 V.I.C. § 841(a) (Count 4 and Count 5).

        A suppression hearing was held on October 4, 2016, at which the Government called three

witnesses—Officer Rommel Rios, Officer Peter Mendoza, and Special Agent Brian Gaumond—

and both parties introduced exhibits. After the suppression hearing—upon Defendant’s request—

the Court issued an Order requiring the parties to submit supplemental briefing. (Dkt. No. 354).

Pursuant to this Order, on October 18, 2016, Defendant filed his “Supplemental Memorandum Re:

Suppression Hearing on October 4, 2016” (Dkt. No. 374), and on October 23, 2016, the

Government filed its “Response to Vega-Arizmendi’s Supplemental Memo re Motion to Suppress”

(Dkt. No. 379).

        At the October 4 suppression hearing, the following facts emerged. On June 1, 2016, at

approximately 6:30 a.m., Officer Rommel Rios, an officer with the Drug Enforcement Agency

(“DEA”) task force, together with several other officers, executed an arrest warrant at Defendant’s

residence in Culebra, Puerto Rico. After his arrest, the officers transported Defendant to the pier

in Culebra where a police boat was waiting to transport Defendant to Fajardo, Puerto Rico. Once




1
  The Court bases the background factual discussion in this section on the record established at the
suppression hearing. The Court provides this information solely for the purposes of this pretrial
motion, ever mindful that Defendant Vega-Arizmendi is presumed innocent until proven guilty.
Most of the facts discussed herein are alleged, but at this stage not conceded or proven beyond a
reasonable doubt to the factfinder.


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on the boat, but before leaving for Fajardo, Officer Rios gave Defendant—whose first language is

Spanish—a form containing the Miranda rights in Spanish (Government Exhibit 2A).2 Officer

Rios asked Defendant if he knew how to read and write and Defendant responded in the

affirmative. The form was sitting on Defendant’s lap, where it was visible to both Defendant and

Officer Rios. Officer Rios instructed Defendant to read the first sentence, and when he was finished

Officer Rios read aloud the first sentence to Defendant and instructed him to initial the line if he

understood it. This process was followed for each line. In addition to initialing each line of the

Miranda warnings, Defendant also initialed and wrote “si,” after the question that Officer Rios

translated to mean “Have you understand [sic] your rights?” Finally, Defendant initialed and

placed a checkmark next to the paragraph indicating that he had read his rights, understood them,

and was willing to answer any question freely and voluntarily, without the presence of a lawyer.

Defendant signed the form, and Officer Rios and another officer signed the form as witnesses.




2
  Because the form is in Spanish, Officer Rios—whose first language is Spanish—was asked by
counsel for the Government to translate the form to English at the suppression hearing, and he did
so as follows: “Before I going to ask you any questions, you have to know your rights. . . . [Y]ou
have the right to remain silent. . . . [A]nything that you say can be used against you in the court.
Before I ask you any questions, you have the right to speak and consult an attorney. . . . You have
the right to have an attorney right here, right now, before I ask you any questions, or before they
interrogate. If you cannot pay for the services of a lawyer, and even you want to have one, we will,
we will get you one before, before asking you any questions. . . . [H]ave you understand [sic] the
rights? Are you willing to ask me any questions? . . . [T]hen says renouncing to his right[s], . . . I
have been, I read it, or somebody read it, my rights above mention[ed], and I know my rights, at
this moment, I am willing to answer freely, voluntary, any question without the presence of a
lawyer.”

Based on its examination of Government Exhibit 2A, the Court notes that the question Officer
Rios testified to mean “Are you willing to ask me any questions?,” is more accurately translated
as “Are you willing to answer any questions?” Officer Rios’ translation mistake is of no
consequence to the merits of this matter because the Miranda form is in Spanish, and Officer Rios
read the form to Defendant in Spanish.
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       Defendant—whose name is Jean Carlos Vega-Arizmendi—did not write his initials the

same way on each line of the Miranda form. Rather, Defendant’s initials appear as follows: J.A.V.,

J.V.A., J.A.V., J.A.V., J.A.V., J.C.V.A., and J.C.V.A. Additionally, Defendant neither initialed

nor answered the question asking whether Defendant was willing to answer any questions. Finally,

Defendant signed the Miranda form “Jean C. Vega.”

       After signing the Miranda form, Defendant asked to speak with Officer Rios, but Officer

Rios told him to wait until they arrived in Fajardo. When they arrived in the Fajardo office and

after Defendant was provided and ate breakfast, Defendant again asked to speak with Officer Rios.

The two men went outside where Officer Rios gave Defendant a cigarette to smoke. Outside,

Officer Rios again read through with Defendant the Miranda form he had signed earlier; asked

him if he understood it; and Defendant answered that he did. Officer Rios informed Defendant that

he did not know much about the case and was only there to arrest him. Defendant nevertheless

discussed the case with Officer Rios.

       Officer Rios testified that during the conversation, Defendant appeared to be relaxed, and

at one point the two shared a joke and laughed together. Although during the conversation

Defendant indicated that he was suspicious of the other task force officers, Officer Rios told him

that the other officers were the same as him. Officer Rios further testified that during the

conversation, Defendant appeared to be “a normal person” who could understand the conversation,

and Officer Rios did not have any trouble understanding him. Officer Rios summarized this

conversation in a report, which was admitted as Government Exhibit 2.

       Later that day, Task Force Officer Peter Mendoza with the Puerto Rico Police Department

transported Defendant from Fajardo to the federal building in San Juan. There, Special Agent Brian

Gaumond of the DEA interviewed Defendant, with Officer Mendoza serving as a translator. At



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the start of the interview, Officer Mendoza gave Defendant another Miranda form, which was in

Spanish.3 Officer Mendoza instructed Defendant to read each line and indicate when he had

finished. Once Defendant indicated that he was finished with a line, Officer Mendoza would then

read the sentence back to him aloud, and Defendant would initial the sentence. A similar process

was reported for the last paragraph of the form indicating that Defendant had read his rights or had

his rights read to him, he understood his rights, and was willing to answer any question freely and

voluntarily without the presence of a lawyer. Officer Mendoza testified that Defendant read this

paragraph to himself, and then Officer Mendoza read it aloud to Defendant. After Defendant had

read the form, Officer Mendoza asked him if he clearly understood the form and his rights, and

Defendant responded in the affirmative. Defendant also signed the form, and Officer Mendoza and

Agent Gaumond signed the form as witnesses. The Government introduced the Miranda form into

evidence as Exhibit 3A.

        Unlike the Miranda form completed with Officer Rios, in the Miranda form completed

with Officer Mendoza, Defendant consistently wrote “J.C.V.A.” for his initials. Also, Defendant

signed the form as “Jean C Vega Arizmendi.”

        After the Miranda form had been completed, Agent Gaumond began questioning

Defendant. Officer Mendoza translated the questions, which were in English, to Spanish, and

Defendant’s answers, which were in Spanish, to English. Officer Mendoza testified that the

interview was conducted in a friendly and calm manner and that Defendant did not seem upset but

had a normal demeanor. Agent Gaumond testified that Defendant’s demeanor was calm and

cooperative during the interview. Defendant responded to Agent Gaumond’s questions and




3
  The Miranda form Officer Mendoza gave Defendant contained the same language as the form
that Officer Rios gave Defendant. (See Government Exhibits. 2A, 3A).
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appeared to understand them. The interview lasted approximately 30 minutes, during which time

Defendant never asked for a lawyer or requested that the interview stop. Agent Gaumond

memorialized his interview with Defendant in a report, which was admitted into evidence as

Government Exhibit 3.

        Regarding Defendant’s education, during cross-examination of Officer Rios, Defendant

introduced academic transcripts showing Defendant’s grades from the first through the eighth

grade. (Defense Exhibit A). The Exhibit shows that Defendant was generally a poor student who

received mostly D’s in seventh grade and all F’s in eighth grade, including in the classes of “Ingles”

and “Español.” (Id.). Officer Rios testified on direct examination that Defendant had attended

Culebra’s public school. The Government also introduced Government Exhibit 4, which

(according to Officer Rios’ testimony) documents that, from 2007 to 2010, Defendant was enrolled

in the Puerto Rico Aviation Maintenance Institute (“PRAMI”). Officer Rios testified that one of

the restrictions for the PRAMI program is that students must read and write Spanish and English.

Government Exhibit 4 indicates that each year that Defendant was enrolled in the PRAMI he either

dropped out or transferred.

                                       II.    DISCUSSION

        Defendant seeks to suppress the statements he allegedly made to law enforcement officers

on the day of his arrest. In support of his position, Defendant argues that (1) the Miranda warnings

Officer Rios provided to Defendant were insufficient; and (2) he did not knowingly and

intelligently waive his Miranda rights.4 As set forth below, the Court will reject both of

Defendant’s challenges.



4
  Defendant initially challenged the voluntariness of his purported waiver. (See Dkt. No. 220 at 4).
However, after the presentation of the evidence at the suppression hearing, Defendant withdrew
this argument. (Dkt. No. 374 at 6 n.4).
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       A.      Applicable Legal Standards

       Miranda v. Arizona, 384 U.S. 436 (1966) held that the “prosecution may not use

statements, whether exculpatory or inculpatory, stemming from custodial interrogation of the

defendant unless it demonstrates the use of procedural safeguards effective to secure the privilege

against self-incrimination.” Id. at 444. Miranda warnings are required whenever a suspect has been

(1) “taken into custody” and (2) subject to “interrogation” by the Government. Steigler v.

Anderson, 496 F.2d 793, 798 (3d Cir. 1974); United States v. Dupree, 617 F.3d 724, 731 n.7 (3d

Cir. 2010) (plurality opinion). A person may, however, “waive effectuation of these [Miranda]

rights, provided the waiver is made voluntarily, knowingly and intelligently.” Miranda, 384 U.S.

at 444; see also United States v. Pruden, 398 F.3d 241, 246 (3d Cir. 2005). “Once a defendant

challenges the admissibility of any statements made while in custody, the government must prove

[by a preponderance of the evidence] that the defendant was advised of and understood [his]

Miranda rights and that he . . . validly waived those rights.” United States v. Briscoe, 69 F. Supp.

2d 738, 741 (D.V.I. 1999), aff’d in part, rev’d in part on other grounds, 234 F.3d 1266 (3d Cir.

2000); see also Colorado v. Connelly, 479 U.S. 157, 168-69 (1986).

       To prove a valid waiver, the Government has the burden of establishing that the waiver

was “voluntary in the sense that it was the product of a free and deliberate choice rather than

intimidation, coercion, or deception,” and “made with a full awareness both of the nature of the

right being abandoned and the consequences of the decision to abandon it.” Pruden, 398 F.3d at

246 (quoting Moran v. Burbine, 475 U.S. 412, 421 (1986)) (quotations omitted); see also United

States v. Whiteford, 676 F.3d 348, 362 (3d Cir. 2012).

       To determine whether Miranda rights have been voluntarily, knowingly, and intelligently

waived, courts must “consider the totality of circumstances surrounding [the defendant’s]



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statement.” Briscoe, 69 F. Supp. 2d at 741 (quoting United States v. Tyler, 164 F.3d 150, 158 (3d

Cir. 1998)) (quotations omitted). Courts also must consider “the background, experience, and

conduct of the [defendant], as well as any indicia of coercion.” Id. (citing Oregon v. Bradshaw,

462 U.S. 1039, 1046 (1983)) (internal citation omitted). Examples of “traditional” indicia of

coercion are the duration and conditions of detention, the attitude of the interrogators, defendant’s

physical and mental state, and other pressures affecting his powers of resistance and self-control.

Id. at 741 n.1. “Miranda rights will be deemed waived only where the totality of the circumstances

reveals both an uncoerced choice and the requisite level of comprehension.” United States v.

Sriyuth, 98 F.3d 739, 749 (3d Cir. 1996) (quoting Alston v. Redman, 34 F.3d 1237, 1253 (3d Cir.

1994)) (quotations and brackets omitted).

       B.      The Sufficiency of Defendant’s Miranda Warnings

       Defendant argues that the Miranda warnings Officer Rios gave to Defendant were

insufficient as a matter of law. (Dkt. No 374 at 4-6). Defendant first asserts that he received a

written version of the Miranda rights in close proximity to a verbal version of the Miranda rights

that differed from the written form. Defendant argues that the close proximity between the two

varying versions of the Miranda rights “threatened to obfuscate the warning’s meaning.” (Id. at

4).

       Defendant’s argument is grounded in his contention that “Officer Rios did not read the

advice of rights form verbatim, which meant [Defendant] received two different Miranda

warnings.” (Id. at 5). However, the Court finds this assertion to be unsupported by the evidence

presented at the suppression hearing. On direct examination, Officer Rios testified that he read

Defendant his rights from the same form that Defendant was reading. In describing what

transpired, Officer Rios testified that he gave Defendant the Miranda form, instructed him to read


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it, and told him: “[O]nce you read it, let me know when you finish the first sentence.” Officer Rios

continued: “He read it, I read it with him . . . .” Officer Rios testified that he then asked Defendant:

“Do you understand it Vito?,”5 and Defendant responded “Yes.” This testimony directly cuts

against Defendant’s assertion that he received two different iterations of his Miranda rights.

         Moreover, Officer Rios’ testimony on direct examination is consistent in this regard with

his testimony on cross-examination as evident from the following exchanges between Defendant’s

counsel and Officer Rios:

         Q: You did not read [the Miranda form] aloud to him, is that correct?

         A: I hand the form to him, he read a sentence, after that, I read it with him. When
            he was aware, understand what he just read and what I read to him, I told him
            “put your initial on the left side of each sentence.”

         ....

         Q: When you explained to [Defendant] what was on the [Miranda form] did you,
            can you recall verbatim precisely what you actually said to him regarding each
            of these rights that are on this form?”

         A: The only thing that I said to him was—like I told you—he read it, I read it after
            he was finished, then . . . have you, uh, have you understand your rights? Yes?
            He put “si.” Then he said, where it said “he leido” (I have [read]) he marked
            this checkmark, and after that [I told him] “[Defendant] put your signature
            where it say firma,” and he put his signature. After that, nothing else.

         In short, Officer Rios testified that for each line on the Miranda form, he waited until

Defendant indicated he was done reading and then he read that same line aloud to Defendant. The

Court finds Offices Rios’ testimony in this regard to be credible and uncontroverted. The Court

therefore concludes that the evidence does not support Defendant’s assertion that “[he] received

two different Miranda warnings.”




5
    Officer Rios called Defendant by his nickname, “Vito.”
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       In view of this finding, the Court also rejects Defendant’s related assertion that the close

proximity between when Defendant appeared to read a line from the Miranda form and when

Officer Rios read aloud that same line obfuscated the warning’s meaning. To the contrary, it is

difficult to see how this procedure could do anything but further ensure that Defendant understood

his Miranda rights. See United States v. Herrera-Genao, 419 F. App’x 288, 292-93 (3d Cir. 2011)

(upholding district court’s holding that defendant was properly advised of his Miranda rights

where there was testimony that “[defendant] was brought to interrogation, verbally advised as to

his Miranda rights, and then given a Statement of Rights, which he reviewed and signed”).

       Even if the testimony was that Officer Rios reiterated the Miranda warnings to Defendant

in his own words—which it was not—and therefore Defendant received two different versions,

Defendant’s argument would be rejected on legal grounds. As noted by the Third Circuit in United

States v. Cruz, 910 F.2d 1072 (3d Cir. 1990), “the Supreme Court [has] explained that Miranda

warnings do not have to be given in the exact words that the court scribed in its landmark Miranda

decision.” Id. at 1078 (citing Duckworth v. Eagan, 492 U.S. 195 (1989)). Rather, “[t]he inquiry is

simply whether the warnings reasonably ‘conve[y] to [a suspect] his rights as required by

Miranda.’” United States v. Warren, 642 F.3d 182, 184 (3d Cir. 2011) (quoting Duckworth, 492

U.S. at 203). The Supreme Court in Florida v. Powell, 559 U.S. 50 (2010) reiterated the four

familiar Miranda warnings as follows:

       [A suspect] must be warned prior to any questioning [1] that he has the right to
       remain silent, [2] that anything he says can be used against him in a court of law,
       [3] that he has the right to the presence of an attorney, and [4] that if he cannot
       afford an attorney one will be appointed for him prior to any questioning if he so
       desires.

Id. at 59 (quoting Miranda, 384 U.S. at 479) (quotations omitted, brackets in original).




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       The Court finds that the Miranda form that Officer Rios instructed Defendant to read

“reasonably convey[s]” the four Miranda warnings set forth by the Supreme Court in Miranda.

Warren, 642 F.3d at 184 (quoting Duckworth, 492 U.S. at 203) (quotations omitted); (Government

Exhibit 2A). Defendant raises no assertion to the contrary. Moreover, even assuming that Officer

Rios reiterated the Miranda warnings in his own words, there is no evidence that Officer Rios’

reiteration was materially different from the written form given to Defendant. It would be pure

speculation to conclude that Officer Rios’ verbal recitation failed to reasonably convey the

Miranda warnings, especially since the uncontroverted testimony is that Officer Rios read from

the same printed form that he provided to Defendant. In sum, the Court rejects Defendant’s

argument that the proximity between Defendant’s reading of the Miranda form and Officer Rios’

recitation of the same form somehow obfuscated the warnings’ meaning. (Dkt. No. 374 at 4).6




6
  Defendant cites United States v. Connell, 869 F.2d 1349 (9th Cir. 1989) to support his assertion
that “by simply reiterating the Miranda warnings in his own words, Officer Rios impermissibly
provided an equivocal Miranda warning.” (Dkt. No. 374 at 5). Defendant’s reliance on Connell is
misplaced. In Connell, the defendant was instructed to read a Miranda rights form and, while doing
so, was verbally read a different version of the Miranda rights. Connell, 869 F.2d at 1350. After
receiving the warnings and signing the advice of rights waiver form, the defendant confessed. Id.
at 1351. The Ninth Circuit held that defendant’s confession must be suppressed because the
Miranda warnings he received “were confusing and failed clearly to inform him that if he could
not afford an attorney he had the right to have an attorney appointed for him prior to interrogation.”
Id. at 1353. In so holding, the Ninth Circuit noted the following: “Although told that he had the
right to talk to an attorney before, during, and after questioning, this statement was immediately
followed by a strong assertion that such an attorney could not be obtained at the Government’s
expense. The subsequent statements regarding appointed counsel in both the oral and written
warnings—that ‘a lawyer may be appointed to represent you’ (oral) and that if I want but cannot
afford a lawyer ‘arrangements will be made for me to obtain a lawyer in accordance with the law’
(written)—did not clearly inform [the defendant] that if he could not afford an attorney one would
be appointed for him prior to questioning, if he so desired.” Id. at 1353 (emphasis in original).

Defendant’s reliance on Connell is misplaced because the facts in Connell are markedly different
from the evidence presented here. As discussed above, unlike in Connell, there is no basis in the
record for the Court to find that Officer Rios reiterated the Miranda warnings in such a way as to
obfuscate any of the four Miranda warnings.
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       Defendant also argues that the Miranda rights were insufficient because “Officer Rios

minimized the importance of the Miranda warnings.” (Dkt. No. 374 at 5). Defendant bases this

argument on his assertions that Officer Rios told Defendant “that he knew nothing about the case,

and that he was only here to arrest him.” (Id.). Defendant further asserts that Officer Rios “tried to

build a rapport with him by relying on the fact that he had previously met and spoken with [him]”

and that he might have referred to Defendant as “my friend” during their interactions. (Id.).

       The Court rejects Defendant’s argument that Officer Rios impermissibly minimized the

importance of the Miranda warnings. To the contrary, the evidence shows that Officer Rios’ words

and actions were consistent with, and expressed the seriousness of, the Miranda rights. As detailed

above, the evidence is that Defendant was given a Miranda form and instructed to read it; Officer

Rios also read the form to him line by line; Defendant initialed each line after indicating that he

understood its meaning, wrote “si” further indicating that he understood his rights, and signed the

form; and Officer Rios and another officer signed the form as witnesses. This thorough,

meticulous, and time-intensive approach to advising Defendant of his Miranda rights—by itself—

strongly cuts against Defendant’s assertion that Officer Rios minimized the importance of

Defendant’s rights. Further, the Court finds it significant that Officer Rios advised Defendant of

his Miranda rights not once but twice: Officer Rios first advised Defendant of his rights in Culebra

prior to departing for Fajardo, and then advised Defendant a second time in Fajardo before

allowing Defendant to talk with him about the case. This is additional evidence which reinforces

the conclusion that—contrary to Defendant’s argument—Officer Rios’s actions communicated to

Defendant the importance of the Miranda warnings.7



7
  Defendant relies on Doody v. Ryan, 649 F.3d 986 (9th Cir. 2011) for his argument that because
Officer Rios minimized the importance of the Miranda warnings, the warnings are insufficient as
a matter of law. The Court finds that Defendant’s reliance on Doody is unavailing. In Doody, a
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       Given the weight of the evidence showing that Officer Rios gave the Miranda warnings in

a manner that appropriately reflected their significance, the Court rejects Defendant’s assertion

that the Miranda warnings are insufficient as a matter of law because Officer Rios minimized their

importance. That Officer Rios told Defendant “he knew nothing about the case,” “tried to build a

rapport with him,” and might have referred to Defendant as “my friend” does not alter the Court’s

conclusion. (Dkt. No. 374 at 5). Nothing prohibits an officer from being cordial, or even friendly,

to a suspect before, during, or after administering the Miranda warnings. See Miller v. Fenton, 796

F.2d 598, 607 (3d Cir. 1986) (holding that a suspect’s confession was not involuntary despite the

fact that “[the officer’s] supportive, encouraging manner was an interrogation tactic aimed at

winning [the suspect’s] trust and making him feel comfortable about confessing”); see also United

States v. Falciglia, 421 F. App’x 146, 147-48 (3d Cir. 2008) (holding that the defendant’s waiver

of his Miranda rights was knowing and voluntary even though the officers might have promised

the defendant leniency). Moreover, the evidence contains no indication that Officer Rios



group of officers questioned a seventeen-year-old (Doody) for thirteen hours overnight. Id. at 990.
During the interrogation, Doody confessed to participating in a series of murders, and he was
eventually convicted. Id. However, the Ninth Circuit granted Doody’s writ of habeas corpus in
part because it found that the he had received inadequate Miranda warnings prior to his confession.
Id. at 1023. Specifically, the Ninth Circuit held that the Miranda warnings “were defective because
[the officer] downplayed the warnings’ significance, deviated from an accurate reading of the
Miranda waiver form, and expressly misinformed Doody regarding his right to counsel.” Id. at
1003. As discussed above, the evidence shows that Officer Rios did not deviate from the Miranda
form and that the Miranda form sufficiently contained the requisite warnings—including
Defendant’s right to counsel.

Doody is also unhelpful as to Defendant’s remaining contention that Officer Rios minimized the
importance of the Miranda warnings. In Doody, the officer implied to Doody that “the warnings
were just formalities” and represented to him on three separate occasions that the warnings were
“mutually beneficial” to Doody and the officers. Id. at 1003, 1005. Here, Officer Rios never
suggested to Defendant that the Miranda warnings were mere “formalities” or repeatedly
represented that they were “mutually beneficial.” To the contrary, as discussed above, Officer
Rios’ words and actions reflected the importance of the Miranda warnings and their appropriate
meaning.
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communicated to Defendant that because he was his friend and knew nothing about the case

Defendant could speak to him without legal consequences. In fact, the evidence shows that Officer

Rios informed Defendant twice in Spanish as part of the Miranda warnings that “anything that you

say can be used against you in the court.” (See Government Exhibit 2A). In short, Defendant’s

argument that Officer Rios minimized the importance of the Miranda warnings fails in light of the

evidence.

        Based on the foregoing, the Court rejects Defendant’s argument that the Miranda warnings

Officer Rios gave Defendant were insufficient as a matter of law.

        C.     Defendant’s Waiver of his Miranda Rights

        Defendant also argues that his statements must be suppressed because the Government

failed to meet its burden of establishing that Defendant knowingly and intelligently waived his

Miranda rights. The Court disagrees and concludes that there is more than ample evidence to

establish a knowing and intelligent waiver on both occasions when Defendant signed a Miranda

form.

        As noted above, to prove a valid waiver, the Government must establish by a

preponderance of the evidence that the waiver was “made with a full awareness both of the nature

of the right being abandoned and the consequences of the decision to abandon it.” Pruden, 398

F.3d at 246 (quoting Moran, 475 U.S. at 421). To determine whether Miranda rights have been

knowingly and intelligently waived, courts must “consider the totality of circumstances

surrounding [the defendant’s] statement.” Briscoe, 69 F. Supp. 2d at 741 (quoting Tyler, 164 F.3d

at 158) (quotations omitted).




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       Here, before each of his interrogations, Defendant was given a Miranda form and

instructed to read it;8 the respective officer read the form to Defendant line by line; and Defendant

initialed each line. Except for Defendant marking his initials, this process was repeated for the last

paragraph of the form, and Defendant signed the form indicating that he understood the rights set

forth and was willing to answer questions without the presence of an attorney. Both Officer Rios

and Officer Mendoza also asked Defendant if he understood his Miranda rights, and both times

Defendant verbally responded in the affirmative. After he signed each Miranda form, the evidence

shows that Defendant engaged in normal conversation during which he and the respective officers

had no issues understanding each other, and there was no indication that Defendant was agitated

or upset. Indeed, Officer Rios testified that, at one point during his conversation with Defendant,

the two shared a joke and laughed together.

       The facts presented at the suppression hearing show that Defendant is an individual of at

least ordinary intelligence, who can read, write, and understand Spanish.9 The facts also show that

Defendant was provided with a written Miranda form, had time to read it, had it read to him, signed

the form, and verbally responded that he understood his rights. In light of these facts, the Court

finds that the Government has met its burden of showing that Defendant knowingly and

intelligently waived his Miranda rights.




8
 Officer Rios first asked whether Defendant could read and write, and Defendant responded in the
affirmative.
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  Based on the available evidence, the Court concludes that Defendant could read, write, and
understand Spanish. Defense Exhibit A indicates that Defendant has completed and passed—albeit
with low grades—the seventh grade. Moreover, the Court credits Officer Rios’ testimony that
Defendant responded affirmatively when asked if he could read and write. This is corroborated by
the testimony of Officer Rios and Officer Mendoza that Defendant appeared to read the Miranda
form to himself when instructed to do so, and the evidence that Defendant engaged in normal
conversation with no problems understanding.
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       In this regard, the Court finds the case of Berghuis v. Thompkins, 560 U.S. 370 (2010) to

be instructive. In Berghuis, the suspect was presented with a written Miranda form; the officers

determined that the suspect could read and understand English by having him read aloud one of

the warnings; the officers gave him time to read the form; and the form was read aloud to him. Id.

at 385-86. However, the suspect in Berghuis declined to sign the Miranda form; there was

conflicting evidence about whether he verbally confirmed that he understood his rights; and the

suspect was largely silent during a three-hour interview in which he made incriminating

statements. Id. at 375. On these facts, the Supreme Court held that “[t]here was more than enough

evidence in the record to conclude that [the suspect] understood his Miranda rights.” Id. at 385.

       The facts here regarding a knowing and intelligent waiver are even more compelling than

those in Berghuis. Like Berghuis, Defendant was given time to read from a written form and had

the form read to him. Although Defendant did not read aloud any portion of the form, Defendant’s

understanding of Spanish is demonstrated by his education history, his affirmative answer when

asked if he could read and write Spanish, and the fact that he had no difficulties carrying on or

understanding conversations with Officer Rios and Officer Mendoza. Moreover, while the suspect

in Berghuis refused to sign the waiver form and there was conflicting evidence as to whether he

verbally confirmed his understanding, here Defendant initialed and signed both Miranda forms

presented to him and verbally responded in the affirmative when asked whether he understood his

rights. These facts are therefore more than sufficient for the Court to conclude that the Government

met its burden of showing that Defendant’s waiver was made knowingly and intelligently. See

Berghuis, 560 U.S. at 385.

       Defendant essentially bases his argument that the Government failed to meet its burden on

certain alleged inconsistencies in the first Miranda form that Defendant filled out with Officer



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Rios. (Dkt. No. 374 at 7). Defendant points to the fact that (1) he initialed the same form differently

(writing either J.A.V., J.V.A., or J.C.V.A.), and (2) he left unanswered the question “Are you

willing to answer any questions?” (Government Exhibit 2A) but signed the bottom of the form

indicating, among other things, that “I am willing to answer freely, voluntarily any question

without the presence of a lawyer” (id.). (Dkt. No. 374 at 8). From this, Defendant argues that “[he]

could not initial his name”; that it is reasonable to conclude that he is illiterate; and that “[he] did

not understand what he was signing and did not understand what the officers were telling him,

including the concept of waiver.” (Id. at 7-8).10 Defendant further asserts that his “educational

transcript reveals that he was generally a poor student, especially in English and Spanish” and that

“[t]here is no evidence he had prior experience with the criminal justice system.” (Id. at 3). The

Court finds these arguments unconvincing.

       As a preliminary matter, one can knowingly and intelligently waive his Miranda rights

without initialing—or even signing—a Miranda form. Berghuis, 560 U.S. at 385 (finding a valid

waiver even though the suspect declined to sign the Miranda form). Similarly, one need not read

a Miranda form to gain a full awareness of the rights being abandoned and the consequences of

such a decision. See United States v. Wauneka, 842 F.2d 1083, 1088 (9th Cir. 1988) (holding that




10
   Defendant also argues that the Court could infer from Defendant’s inconsistent initials that “[he]
realized, in the middle of filling out the form, that he had incorrectly initialed his name. . . .
However, if this is true, then [Defendant] was not paying attention when he started signing the
form, and his entire waiver is still, therefore, not intelligent and knowing.” (Dkt. No. 374 at 8).
The Court disagrees. Even if Defendant was not paying attention to how he wrote his initials—
and therefore wrote the letters in a different order—this does not mean that he was not paying
attention to his Miranda rights. Nor does it mean that Defendant did not have the requisite
awareness and understanding of his Miranda rights when he signed the waiver or later after Officer
Rios went over the Miranda form with him a second time. Most importantly, as discussed above,
the officers went through a meticulous process in giving Defendant his Miranda warnings and
Defendant orally acknowledged his understanding. The evidence of record substantially outweighs
Defendant’s speculation.
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the defendant’s confession made after receiving an accurate oral statement of Miranda rights was

admissible). Thus, even if the Court were to find—which it does not—that Defendant is illiterate

and did not understand the written Miranda forms, the Government has still met its burden because

there is evidence that the officers accurately read the Miranda form to Defendant and that he

verbally indicated that he understood his rights. See United States v. Velasquez, 626 F.2d 314, 316,

320 (3d Cir. 1980) (holding that a defendant who did not sign a formal waiver nevertheless waived

her Miranda rights when she willingly answered questions after acknowledging that she

understood her Miranda rights).

       To the extent—if any—that Defendant’s limited educational history, purported illiteracy,

inconsistent initials,11 and failure to respond to one question on the Miranda form suggest that

Defendant’s intelligence is so low that he was unable to comprehend the officers’ verbal recitation

of his rights, these facts are substantially outweighed by other evidence of Defendant’s ability to

comprehend. Defendant’s affirmative response to Officer Rios’ inquiry about whether he could

read and write; the fact that he passed the seventh grade; his verbal indications that he understood

his Miranda rights; and his ability to naturally converse with the officers—to the point of sharing

a joke and laughing with Officer Rios—are all facts showing that Defendant has at least the

intelligence necessary to comprehend the verbal Miranda warnings. See United States v.

Caraballo, 643 F. App’x 163, 169 (3d Cir. 2016) (upholding finding that defendant, whose first

language is Spanish, validly waived his Miranda rights which were administered to him in English




11
  With regard to the inconsistent initials, Defendant specifically initialed the first Miranda form
J.A.V., J.V.A., J.A.V., J.A.V., J.A.V., J.C.V.A., and J.C.V.A. While only two of the initials include
the letter “C”—which denotes his middle name—and others switch the order of “V” and “A”—
Vega-Arizmendi—the Court notes that the letters comprising the initials all relate to Defendant’s
name: Jean Carlos Vega-Arizmendi.


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where “[the defendant] spoke with [the officer] in English throughout the traffic stop, never

indicated to [the officer] that he did not understand English or that he did not understand the

Miranda warnings, and admitted to the District Court that he told [the officer] that he did

understand the warnings”).12

       In short, the record contains more than ample evidence showing that Defendant was

capable of understanding his Miranda rights and that his decision to waive his rights was made

knowingly and intelligently. That Defendant inconsistently wrote his initials and left one question

regarding his willingness to answer blank while answering another affirmatively—even in light of

his limited formal education—does not alter the Court’s conclusion in this regard. Under the

preponderance of the evidence standard, the totality of the circumstances establish that

Defendant’s waiver was “made with a full awareness both of the nature of the right being




12
   Defendant unpersuasively attempts to analogize the instant facts to those of United States v.
Stevens, 2008 U.S. Dist. LEXIS 97904 (D.V.I. April 16, 2008). In Stevens, an officer read a
Miranda form to the defendant, which she later signed, and the defendant verbally responded that
she understood her rights. Id. at 4. Shortly thereafter, the defendant confessed. Id. at 5. At the
suppression hearing, however, the defendant presented evidence showing that her “I.Q. [was] in
the mentally retarded range.” Id. at *11. The defendant’s expert opined that defendant likely did
not understand the warnings but instead “tr[ied] to save face by indicating she understood when
she really did not.” Id. at *9. Moreover, the Government’s own expert opined that because of the
defendant’s mental retardation, “it was not possible to refute her claim that she did not understand
the Miranda warnings.” Id. at *12. Given this evidence, the district court found that the
Government had not met its burden of showing an intelligent and knowing waiver. Id.

Here, unlike in Stevens, there is no evidence indicating that Defendant is mentally retarded. In
contrast to the expert opinions in Stevens, Defendant asserts that “the most insightful evidence on
[Defendant’s] level of intelligence and literacy at the time of his arrest is his original Miranda
waiver form, which demonstrates that [he] was not able to consistently sign his name correctly.”
(Dkt. No. 374 at 7). As discussed above, however, any evidence about Defendant’s intelligence
that can be gleaned from the inconsistencies in Defendant’s initialing of the Miranda waiver form
is substantially outweighed by other evidence in the record. Based on the totality of the
circumstances, the Court finds that the Government has proven a valid waiver by a preponderance
of the evidence.
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abandoned and the consequences of the decision to abandon it.” Pruden, 398 F.3d at 246 (quoting

Moran, 475 U.S. 421).

                                   III.   CONCLUSION

       In sum, the Court rejects Defendant’s contentions that Officer Rios provided him

insufficient Miranda warnings and that he did not knowingly and intelligently waive his Miranda

rights. Accordingly, the Court will deny Defendant’s Motion to Suppress. An appropriate Order

accompanies this Memorandum Opinion.

Date: January 12, 2017                             ________/s/________
                                                   WILMA A. LEWIS
                                                   Chief Judge




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